                                 Fourth Court of Appeals
                                         San Antonio, Texas
                                                August 14, 2024

                                             No. 04-24-00361-CV

                                          IN RE Faith RAMIREZ

                                      Original Mandamus Proceeding 1

                                                    ORDER

       On May 21, 2024, relator filed a petition for writ of mandamus. No responses were filed.
We conditionally grant the petition for writ of mandamus and order the Honorable Mary Lou
Alvarez to, no later than fifteen days from the date of this order, vacate the (1) May 17, 2024
Modified Interim Orders and all orally rendered orders made during the May 10, 2024 hearing;
(2) May 10, 2024 Order Issuing Writ of Attachment; and (3) Amicus Decretal Paragraph from the
May 10, 2024 Temporary Orders. See TEX. R. APP. P. 52.8(c). The writ will issue only in the event
we are informed Judge Mary Lou Alvarez fails to comply with this order.

        It is so ORDERED on August 14, 2024.



                                                                       _____________________________
                                                                       Lori I. Valenzuela, Justice

       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 14th day of August, 2024.

                                                                       _____________________________
                                                                       Luz Estrada, Chief Deputy Clerk




1
 This proceeding arises out of Cause No. 2020-CI-00887, styled In the Interest of D.L. and L.L, pending in the 408th
Judicial District Court, Bexar County, Texas, the Honorable Mary Lou Alvarez presiding.
